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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                           8:14CR155

        vs.
                                                                               ORDER
GILBERT NAVARRO,

                        Defendant.


This matter is before the court on defendant's MOTION TO EXTEND TIME IN WHICH TO FILE
PRETRIAL MOTIONS [79]. For good cause shown, I find that the motion should be granted. The
defendant will be given an approximate 90-day extension. Pretrial Motions shall be filed by February 19,
2015.


        IT IS ORDERED:


        1.      Defendant's MOTION TO EXTEND TIME IN WHICH TO FILE PRETRIAL
MOTIONS [79] is granted. Pretrial motions shall be filed on or before February 19, 2015.


        2.      The ends of justice have been served by granting such motion and outweigh the interests
of the public and the defendant in a speedy trial. The additional time arising as a result of the granting of
the motion, i.e., the time today’s date and February 19, 2015, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason defendant's counsel
required additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).




        Dated this 12th day of November, 2014

                                                           BY THE COURT:

                                                           s/ F.A. Gossett, III
                                                           United States Magistrate Judge
